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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division




UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
V.                                               )          No. 1:24-cr-249
                                                 )
ASIF WILLIAM RAHMAN,                             )
                                                 )
                                                 )
       Defendant.                                )


                                            ORDER

       This matter comes before the Court on the United States' Notice of Appeal and Stay

Request (Dkt. 22). The United States, pursuant to 18 U.S .C. §§ 3142 and 3145(a)( 1), moves to

stay the December 6, 2024 Order Setting Conditions of Release (Dkt. 21) for Asif Williams

Rahman pending trial.

       Having reviewed the Notice of Appeal and Stay Request, the Court concludes that the

expeditious relief that the Government seeks at this time is appropriate. Accordingly, for good

cause shown, it is hereby

       ORDERED that the Request to Stay is GRANTED; it is further

       ORDERED that the December 6, 2024 Order Setting Cond itions of Release (Dkt. 2 1) is

STAYED until the Court is able to review the merits of the appeal; and it is further

       ORDERED that the Court will set this matter to be heard on December 11, 2024, at 11 :00

a.m. The Court will also advance the arraignment to December 11 , 2024.

Entered this 6th day of December 2024
Alexandria, Virginia
                                                              Patricia folhver Giles
                                                              United States District Judge
